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 3                           UNITED STATES DISTRICT COURT
 4                                DISTRICT OF NEVADA
 5
 6   UNITED STATES OF AMERICA,         )              2:15-cr-00166-HDM-GWF
                                       )
 7                  Plaintiff,         )
                                       )              ORDER
 8                                     )
     vs.                               )
 9                                     )
     JONATHAN GALANTE,                 )
10                                     )
                    Defendant.         )
11   _________________________________ )
12        The Probation Department has submitted a report to the court and
13   advised that the defendant is in compliance with his supervised
14   release.     The Department of Probation recommends that the defendant
15   be terminated from location monitoring and that he be continued on his
16   supervised    release    without   any       additional   modifications.   The
17   Department of Probation further requested that the petition for a
18   warrant filed on March 27, 2017 be withdrawn and the May 10, 2017
19   hearing at 1:45 PM regarding the revocation of supervised release be
20   vacated.   Accordingly, the petition for a warrant filed on March 27,
21   2017 (ECF No. 35) is dismissed and the May 10, 2017 hearing at 1:45
22   PM is vacated.
23        IT IS SO ORDERED.
24        DATED: This 3rd day of May, 2017.
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                                  UNITED STATES DISTRICT JUDGE
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